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 6   Attorneys for Plaintiff Marisa Franz
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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
     GEMMA RIVERA and MARISA FRANZ,                       Case No. 5:22-cv-02137-EJD
11
     individually and on behalf of all others similarly
     situated,                                            NOTICE OF MOTION AND MOTION TO
12                                                        CONDITIONALLY WITHDRAW AS
                                                          COUNSEL FOR PLAINTIFF GEMMA
13                                       Plaintiffs,      RIVERA; MEMORANDUM OF POINTS
                                                          AND AUTHORITIES
14          v.

15   KNIX WEAR, INC.                                      Date: May 11, 2023
                                                          Time: 9:00 a.m.
16                                        Defendant.      Judge: Hon. Edward J. Davila
                                                          Courtroom: 4
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     MOTION TO CONDITIONALLY WITHDRAW AS COUNSEL FOR PLAINTIFF RIVERA
     CASE NO. 5:22-CV-02137-EJD
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 1
                                           NOTICE OF MOTION
 2
              PLEASE TAKE NOTICE THAT on May 11, 2023 at 9:00 a.m., or as soon thereafter as
 3
     may be heard in Courtroom 4 before the Honorable Judge Edward J. Davila, located at the Robert
 4
     F. Peckham Federal Building & United States Courthouse, 280 South 1st Street, San Jose,
 5
     California, 95113, Bursor & Fisher, P.A. will and hereby does move the Court to conditionally
 6
     withdraw as counsel of record for Plaintiff Gemma Rivera.
 7
              This Motion is made pursuant to Local Rule 11-5 and the California Rules of Professional
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     Conduct 1.16(a)(4). This Motion is based upon this Notice of Motion, the following Memorandum
 9
     of Points and Authorities, and the Declaration of L. Timothy Fisher filed herewith.
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                           MEMORANDUM OF POINTS AND AUTHORITIES
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     I.       INTRODUCTION
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              Bursor & Fisher, P.A. (“Counsel”), counsel of record for Plaintiff Gemma Rivera (“Ms.
13
     Rivera”), respectfully requests leave to conditionally withdraw as counsel for Ms. Rivera pursuant
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     to California Rules of Professional Conduct 1.16(a)(4) and Local Rule 11-5.
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     II.      STATEMENT OF FACTS
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              Ms. Rivera is currently represented by Bursor & Fisher, P.A. in this matter. On March 15,
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     2023, Ms. Rivera terminated Bursor & Fisher, P.A. as her counsel. Id. ¶ 2. As of the date of this
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     application, Ms. Rivera has not retained new counsel. Id. ¶ 2. Since Ms. Rivera terminated
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     representation, Bursor & Fisher, P.A. has forwarded all orders and notices to Ms. Rivera. Id. ¶ 3.
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     Per Local Rule 11-5(b), Bursor & Fisher, P.A. will continue to do so until Ms. Rivera is
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     represented by new counsel.
22
     III.     ARGUMENT
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              Under California Rule of Professional Conduct 1.16(a)(4), “a lawyer shall withdraw from
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     representation of a client if: … the client discharges the lawyer.” An attorney may withdraw from
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     a case after obtaining an order from the Court after written notice has been given in advance to the
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     client and all other parties appearing in the case. Civ. L.R. 11-5(a).
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     MOTION TO CONDITIONALLY WITHDRAW AS COUNSEL FOR PLAINTIFF RIVERA                                     1
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           Case 5:22-cv-02137-EJD Document 56 Filed 04/11/23 Page 3 of 3




 1           “The decision to grant or deny counsel’s motion to withdraw is committed to the discretion
 2   of the trial court.” Kannan v. Apple Inc., 2020 WL 75942, at *1 (N.D. Cal. Jan. 7, 2020) (citation
 3   omitted); Marcus v. ABC Signature Studios, Inc., 2017 WL 5635020, at *1 (C.D. Cal. June 7,
 4   2017) (citing United States v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009)). “A client has an
 5   absolute right to discharge an attorney at any time, with or without cause.” Oracle America, Inc. v.
 6   Service Key, LLC, 2013 WL 1195620, at *2 (N.D. Cal. March 22, 2013) (citing Francasse v. Brent,
 7   6 Cal. 3d 784, 790 (1972)).
 8           Bursor & Fisher, P.A. respectfully requests that the Court grant this motion as Ms. Rivera
 9   discharged the firm as her counsel in this matter on March 15, 2023. See Fisher Decl. ¶ 2.
10   However, because this motion is not accompanied by a substitution of counsel, Bursor & Fisher,
11   P.A. agrees to continue to serve Ms. Rivera with all papers in this matter until Ms. Rivera retains
12   new counsel that has appeared in this action. Id. ¶ 3.
13   IV.     CONCLUSION
14           Bursor & Fisher, P.A. respectfully requests that the Court enter an order permitting the firm
15   to conditionally withdraw as counsel for Ms. Rivera.
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     Dated: April 11, 2023                         BURSOR & FISHER, P.A.
17

18                                                 By:        /s/ L. Timothy Fisher

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     MOTION TO CONDITIONALLY WITHDRAW AS COUNSEL FOR PLAINTIFF RIVERA                                      2
     CASE NO. 5:22-cv-02137-EJD
